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 9                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
      BROIDY CAPITAL MANAGEMENT                                     Civil Case No.:
12    LLC, ELLIOTT BROIDY, and ROBIN
      ROSENZWEIG                                                    2:18-CV-02421-JFW-(Ex)
13

14           Plaintiffs,
                                                                    MEMORANDUM OF POINTS AND
15                                                                  AUTHORITIES IN SUPPORT OF
             v.
                                                                    DEFENDANT STATE OF QATAR’S
16
                                                                    OPPOSITION TO PLAINTIFFS’ EX
      STATE OF QATAR, STONINGTON
17                                                                  PARTE APPLICATION FOR
      STRATEGIES LLC, NICOLAS D.
                                                                    TEMPORARY RESTRAINING
18    MUZIN, and DOES 1-10,
                                                                    ORDER AGAINST DEFENDANTS,
19                                                                  ORDER TO SHOW CAUSE FOR
             Defendants.
                                                                    PRELIMINARY INJUNCTION, AND
20
                                                                    ORDER GRANTING EXPEDITED
21                                                                  DISCOVERY
22
                                                                    Judge:        Hon. John F. Walter
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 1                                             INTRODUCTION
 2          Plaintiff Elliott Broidy once again finds himself facing legal scrutiny over his
 3    business affairs.1 In a transparent effort to distract the public from Mr. Broidy’s own
 4    legal troubles, Plaintiffs (Mr. Broidy, his company, and his wife) ask this Court to issue
 5    an extraordinary restraining order against Defendant State of Qatar based on threadbare
 6    allegations and conspiracy theories, none of which is supported by reliable evidence.
 7    Plaintiffs’ application should be denied because Plaintiffs cannot establish any of the
 8    requirements for injunctive relief.2
 9          First, Plaintiffs have failed to establish a likelihood of success on their claims.
10    Pursuant to the Foreign Sovereign Immunity Act of 1976 (the “FSIA”), “a foreign state
11    shall be immune from the jurisdiction of the courts of the United States” unless an
12    exception applies. 28 U.S.C. § 1604. Plaintiffs bear the burden of establishing an
13    exception to the FSIA jurisdictional bar, yet Plaintiffs’ Application and supporting
14    Memorandum of Points and Authorities (“Plaintiffs’ MPA”) do not even address the
15    FSIA. Had they done so, however, the effort would have been unavailing: the
16    noncommercial torts exception briefly referenced in their Complaint is inapplicable here
17    because Plaintiffs have not alleged a tort occurring entirely within the United States and
18    the exception cannot, in any case, support claims for injunctive relief. With no FSIA
19    exception available to them and service incomplete by their own admission, Plaintiffs can
20    establish neither subject matter nor personal jurisdiction.
21          Plaintiffs’ claims are also utterly implausible on the merits. At most, Plaintiffs
22    claim to have traced the alleged hack to IP addresses registered in the United Kingdom,
23    Netherlands and Qatar. Noticeably lacking is any evidence that the government of Qatar
24

25    1
        See, e.g., Wolosky Decl., Ex. 2.
      2
26      Defendant State of Qatar specially appears for the limited purpose of contesting
      Plaintiffs’ ex parte application. Defendant State of Qatar reserves the right to contest
27    subject-matter jurisdiction, personal jurisdiction, and service in accordance with Fed. R.
      Civ. P. 12. See Fed. R. Civ. P. 12(h) (no defenses waived prior to filing a Rule 12 motion
28    or a responsive pleading).
                                                           1
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 1    was responsible. Accordingly, Plaintiffs have failed to demonstrate any chance of
 2    success on the merits and their request for injunctive relief fails for this reason alone.
 3          Second, Plaintiffs’ allegations of imminent and irreparable injury are highly
 4    speculative. Plaintiffs’ motion is focused almost entirely on allegations of past harm,
 5    based on alleged hacking activity that occurred from January 16 through March 2.
 6    Moreover, the noncommercial torts exception to which Plaintiffs cursorily cite in their
 7    complaint applies only to certain claims for monetary relief, which by definition are not
 8    irreparable harms.
 9          Finally, the balance of hardships and the public interest weigh heavily against
10    granting an injunction. An injunction in this case would effectively serve as a judicial
11    declaration that the State of Qatar “likely” hacked, doctored, and leaked Plaintiffs’ e-
12    mails. Such an injunction, based solely on Plaintiffs’ unsubstantiated allegations, would
13    interfere with the United States’ interest in maintaining diplomatic relations with a key
14    Middle Eastern ally.
15          In addition to the above deficiencies, Plaintiffs have failed to comply with the
16    Court’s rules for seeking a temporary restraining order. Plaintiffs have not personally
17    served a notice of their application or a copy of the Court’s standing order on Defendant
18    State of Qatar’s counsel, nor have Plaintiffs notified counsel that any opposition must be
19    filed within 24 hours of such service. See Standing Order, ECF 17, § 8(b). Rather,
20    Plaintiffs merely contend that, on March 28, 2018, they sent a letter to the Embassy of the
21    State of Qatar in Washington D.C. and to the Qatar Consulate in Los Angeles stating that
22    “in the near future we intend to file a motion for a preliminary injunction and temporary
23    restraining order, in addition to a motion for expedited discovery.” See Wolosky Decl.,
24    Ex. 13. The letter did not identify what conduct Plaintiffs sought to enjoin or the basis
25    for such motion.
26          Plaintiffs’ request for expedited discovery should also be denied. Despite
27    Plaintiffs’ claim that their discovery requests are “limited” and “narrowly tailored”
28    (Plaintiff’s MPA, 22:6, 23), Plaintiffs’ proposed discovery, when reviewed, reveals that
                                                           2
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 1    they are actually seeking comprehensive discovery for the merits of their entire case. See
 2    Wolosky Decl., Exs. 22-23. Such expedited discovery, even if not directed at Qatar
 3    itself, would be a significant intrusion into Defendant State of Qatar’s affairs, which is
 4    particularly problematic given that Plaintiffs have not even established any jurisdiction
 5    over the foreign sovereign or even properly served the State.
 6                                           LEGAL STANDARD
 7          Preliminary relief “is an extraordinary remedy never awarded as of right.” Winter
 8    v. Natural Resources Defense Council, Inc., 555 U.S. 7, 24 (2008). A plaintiff seeking a
 9    temporary restraining order or preliminary injunction “must establish that he is likely to
10    succeed on the merits, that he is likely to suffer irreparable harm in the absence of
11    preliminary relief, that the balance of equities tips in his favor, and that an injunction is in
12    the public interest.” Winter, 555 U.S. at 20. “Under Winter, plaintiffs must establish that
13    irreparable harm is likely, not just possible, in order to obtain a preliminary injunction.”
14    Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).
15    Furthermore, in the context of a temporary restraining order, the plaintiff’s motion must
16    “clearly show that immediate and irreparable injury, loss, or damage will result to the
17    movant before the adverse party can be heard in opposition”—a hearing which must
18    occur within 14 days of the temporary restraining order. Fed. R. Civ. P. 65(b) (emphasis
19    added). Plaintiffs have failed to meet this standard in every respect.
20

21                                                ARGUMENT
22    I.    Plaintiffs Cannot Establish Subject Matter or Personal Jurisdiction.
23
            A.      The Foreign Sovereign Immunities Act Deprives the Court of Subject
24                  Matter Jurisdiction over the Claims Against the State of Qatar.
25                  1.      Plaintiffs Fail to Allege a Basis for Subject Matter Jurisdiction
26                          over the State of Qatar.

27          It is undisputed that Defendant State of Qatar is a foreign state to which the
28    Foreign Sovereign Immunities Act, 28 U.S.C. § 1602 et seq (“FSIA”), is applicable. The

                                                           3
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 1    FSIA “provides the sole basis for obtaining jurisdiction over a foreign state in the courts
 2    of this country.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 443
 3    (1989). The general rule under the FSIA is that foreign states are “immune from the
 4    jurisdiction of the courts of the United States and of the States” unless a specific
 5    exception to that immunity applies. 28 U.S.C. § 1604. If no exception is applicable, the
 6    Court lacks subject matter jurisdiction over the case. Verlinden B.V. v. Central Bank of
 7    Nigeria, 461 U.S. 480, 489 (1983).
 8          Plaintiffs’ Application fails to satisfy their burden to establish a basis for the
 9    Court’s subject matter jurisdiction. See NML Capital Ltd. v. Spaceport Sys. Intrn. L.P.,
10    788 F. Supp. 2d 1111, 1119 (C.D. Cal. 2011) (where complaint shows that defendant is a
11    foreign state, the plaintiff bears the burden of demonstrating that an FSIA exception
12    applies); see generally Thornhill Pub. Co., Inc. v. Gen. Te. & Elec. Corp., 594 F.2d 730,
13    733 (9th Cir. 1979) (plaintiff bears burden to prove subject matter jurisdiction). Far from
14    establishing that an exception to the FSIA is applicable either to the case in general or to
15    their request for injunctive relief in particular, the Application fails even to mention the
16    FSIA. This fundamental failure requires that the Court dismiss Plaintiffs’ injunctive
17    relief claims as to the State of Qatar.
18                  2.     The Noncommercial Torts Exception Does Not Apply to
                           Plaintiffs’ Claims.
19
            The Complaint asserts that the Court has jurisdiction over the State of Qatar
20
      “because its conduct falls within the exception to foreign sovereign immunity set forth in
21
      28 U.S.C. § 1605(a)(5).” Complaint at ¶ 29. Even if this bald statement were sufficient
22
      to meet Plaintiffs’ burden to establish a basis for subject matter jurisdiction, however,
23
      Plaintiffs are wrong as a matter of law. For the reasons explained below, the so-called
24
      noncommercial torts exception set out in 28 U.S.C. § 1605(a)(5) does not apply either to
25
      the claims for money damages set forth in the Complaint or to the claims for injunctive
26
      relief asserted in the Application.
27

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                                                           4
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 1                          a)      Plaintiffs have failed to allege acts within the United States
 2                                  by the State of Qatar constituting an entire tort.

 3          The noncommercial tort exception applies only to torts “occurring in the United
 4    States.” 28 U.S.C. 1605(a)(5). Courts have consistently interpreted that language to
 5    require that “‘[t]he entire tort’ – including not only the injury but also the act
 6    precipitating that injury – must occur in the United States.” John Doe v. Federal
 7    Democratic Republic of Ethiopia, 851 F.3d 7, 10 (D.C. Cir. 2017) (quoting Jerez v.
 8    Republic of Cuba, 775 F.3d 419, 424 (D.C. Cir. 2014)). See also Frolova v. Union of
 9    Soviet Socialist Republics, 761 F.2d 370, 379 (7th Cir.1985) (same); Olsen by Sheldon v.
10    Government of Mexico, 729 F.2d 641, 646 (9th Cir. 1984), abrogated on other grounds
11    as stated in Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1026 (9th Cir.
12    1987) (plaintiffs must allege at least “one entire tort” occurring in the United States).
13          A recent case in the D.C. Circuit with similar facts to those at issue here
14    demonstrates why Plaintiffs cannot rely on the noncommercial tort exception to establish
15    subject matter jurisdiction under the FSIA. In John Doe v. Federal Republic of Ethiopia,
16    plaintiff alleged that a foreign government had infected his computer and intercepted his
17    communications using spyware sent from outside the United States. 852 F.3d at 8-9.
18    The D.C. Circuit held that the noncommercial tort exception did not apply because
19    “Ethiopia’s placement of the … virus on [plaintiff’s] computer, although completed in
20    the United States when [plaintiff] opened the infected email attachment, began outside
21    the United States.” Id. at 10. The same conclusion applies here, given Plaintiffs’
22    allegation that “the unauthorized attack on [their] computers originated from Qatar.”
23    Plaintiffs’ MPA at 5 (citing Tenery Decl. ¶¶ 11, 17). Because all of Plaintiffs’ claims
24    derive from this alleged attack, subject matter jurisdiction is lacking insofar as the
25    Complaint applies to the State of Qatar.
26          This reading of the noncommercial tort exception is consistent with the principle
27    that the exceptions to foreign sovereign immunity enumerated in 28 U.S.C. § 1605 should
28    be narrowly construed. See Sampson v. Fed. Republic of Germany, 250 F.3d 1145, 1155-
                                                           5
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 1    56 (7th Cir. 2001) (explaining that any expansion of the FSIA exceptions bears
 2    “significantly on sensitive foreign policy matters,” which “might have serious foreign
 3    policy implications”). This is particularly appropriate in the case of the noncommercial
 4    tort exception, given that “Congress’ primary purpose in enacting § 1605(a)(5) was to
 5    eliminate a foreign state’s immunity for traffic accidents and other torts committed in the
 6    United States, for which liability is imposed under domestic tort law.” Amerada Hess
 7    Shipping Corp., 488 U.S. at 439–40; see also MacArthur Area Citizens Ass’n v. Republic
 8    of Peru, 809 F.2d 918, 921 (D.C. Cir. 1987) (legislative history of the noncommercial tort
 9    exception “counsels that the exception should be narrowly construed so as not to
10    encompass the farthest reaches of common law”).
11                          b)      The noncommercial tort exception does not provide subject
                                    matter jurisdiction over Plaintiffs’ injunctive claims against
12
                                    the State of Qatar.
13
            The noncommercial torts exception to the FSIA provides subject matter
14
      jurisdiction only over claims for money damages. 28 U.S.C. 1605(a)(5) (exception
15
      limited to cases in which “money damages are sought against a foreign state for personal
16
      injury or death, or damage to or loss of property”). The exception does not apply, and the
17
      Court lacks subject matter jurisdiction, where, as here, Plaintiffs seek injunctive relief for
18
      “intangible injuries, such as damage to … goodwill” which are “not monetary in nature.”
19
      Plaintiffs’ MPA at 17.
20
            Plaintiffs cite no case in which a court has wielded its injunctive powers against a
21
      foreign state based only on the noncommercial tort exception. The commonsense rule
22
      that courts lack subject matter jurisdiction over claims for injunctive relief against a
23
      foreign state predicated solely on that exception is supported by “the interpretations given
24
      the Federal Tort Claims Act (‘FTCA’), 28 U.S.C. §§ 2674, 2680 (1982), upon which
25
      Section 1605(a)(5) was based.” de Sanchez v. Banco Central De Nicaragua, 770 F.2d
26
      1385, 1398 (5th Cir. 1985) (citing H.R. Rep. No. 1487, 94th Cong., 2d Sess. 21, reprinted
27
      in 1976 U.S. Code Cong. & Ad. News 6604, 6619-20). The Ninth Circuit, for example,
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                                                           6
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 1    has recognized that because “the only relief provided for in the [FTCA] is ‘money
 2    damages’ … there is no jurisdiction under the FTCA to award an equitable lien.”
 3    Westbay Steel, Inc. v. U.S., 970 F.2d 648, 651 (9th Cir. 1992) (quotations omitted) (citing
 4    Moon v. Takisaki, 501 F. 2d 389, 390 (9th Cir. 1974) (“The [FTCA] makes the United
 5    States liable in money damages for the torts of its agents under specified conditions, but
 6    the Act does not submit the United States to injunctive relief.”). See also Moher v.
 7    United States, 875 F. Supp. 2d 739, 755 (W.D. Mich. 2012) (collecting cases from
 8    multiple circuits to the same effect).
 9          B.      Plaintiffs Cannot Establish Personal Jurisdiction Over the State of
10                  Qatar.

11          “For a TRO or preliminary injunction order to be valid, the issuing Court must
12    have personal jurisdiction.” American Bridal & Prom Industry Assoc., Inc. v. The
13    Partnerships and Unincorporated Associations Identified on Schedule A, 192 F. Supp. 3d
14    924, 930 (N. D. Ill. 2016). And, as the Ninth Circuit has stated, “[a] court should not
15    issue an unenforceable injunction.” In re Estate of Ferdinand Marcos Human Rights
16    Litig., 94 F.3d 539, 545 (vacating injunction against Republic of Philippines for lack of
17    personal jurisdiction). The FSIA conditions personal jurisdiction over foreign states on
18    the existence of subject matter jurisdiction plus effective service. Cassirer v. Kingdom of
19    Spain, 461 F. Supp. 2d 1157, 1166 (C.D. Cal. 2006), affirmed in part and reversed in
20    part, 616 F.3d 1019, 1037 (9th Cir. 2010) (affirming district court’s analysis of personal
21    jurisdiction). Neither condition is satisfied in this case.
22          First, as explained above, subject matter jurisdiction is lacking because no
23    exception to the FSIA is applicable on the facts alleged in the Complaint. See Bolivarian
24    Republic of Venezuela v. Helmerich & Payne Intern. Drilling Co., 137 S. Ct. 1312, 1317
25    (2017) (“[A] court lacks ‘subject-matter’ and ‘personal’ jurisdiction over a foreign
26    sovereign unless an FSIA exception applies.”).
27          Second, Plaintiffs have yet to effect service on Defendant State of Qatar. “A
28    foreign state or its political subdivision, agency, or instrumentality must be served in
                                                           7
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 1    accordance with 28 U.S.C. § 1608.” Fed. R. Civ. Proc. 4(j)(1). As of today’s date,
 2    Plaintiffs have failed to comply, strictly or otherwise, with those provisions. There exists
 3    “no special arrangement for service” between Plaintiffs and Defendant State of Qatar that
 4    would permit service pursuant to section 1608(a)(1). Defendant State of Qatar is not
 5    party to an “applicable international convention on service of judicial documents,”
 6    permitting service under section 1608(a)(2). Accordingly, Plaintiffs first recourse must
 7    be to service in accordance with section 1608(a)(3): “by sending a copy of the summons
 8    and complaint and a notice of suit, together with a translation of each into the official
 9    language of the foreign state, by a form of mail requiring a signed receipt, to be addressed
10    and dispatched by the clerk of the court to the head of the ministry of foreign affairs of
11    the foreign state concerned.” Plaintiffs’ counsel acknowledges in his declaration attached
12    to the Application that it has not yet effected service by this means. Wolosky Decl. ¶ 15
13    (“The process of formally serving the State of Qatar in a manner that complies with the
14    requirements for serving a foreign sovereign under the Foreign Sovereign Immunities Act
15    is ongoing.”).
16          For the reasons set forth above, the Court should deny the Application as it applies
17    to Defendant State of Qatar for lack of personal jurisdiction. Defendant State of Qatar
18    reserves its right to assert objections based on lack of personal jurisdiction in any
19    subsequent stages of this litigation.
20    II.   Plaintiffs Are Unlikely to Succeed on Their Claims.
21          In addition to the jurisdictional bars, Plaintiffs have also failed to demonstrate a
22    likelihood of success on the merits of their claims. At core, Plaintiffs’ claims rely upon
23    the theory that the State of Qatar hacked Plaintiffs’ various e-mail accounts. However,
24    Plaintiffs have failed to identify any reliable evidence in support of this far-fetched
25    theory.
26          Plaintiffs rely heavily on a declaration from J. Luke Tenery, their ostensible
27    technical expert, in an attempt to tie the alleged hacking to the State of Qatar. Plaintiffs’
28    MPA, 10:5-10. Mr. Tenery’s declaration, in addition to failing to demonstrate adequate
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 1    credentials and expertise to undertake or offer opinions concerning his supposed forensic
 2    analysis, fails to actually identify any link between the alleged hacks and the Qatar
 3    government. Rather, Mr. Tenery merely asserts that the computers accessing Plaintiffs’
 4    e-mail accounts had an IP address registered to physical locations in London, the
 5    Netherlands and, in the case of one computer, in Doha, Qatar—a major metropolitan
 6    city.3 Tenery Decl., ¶ 11. Mr. Tenery does not state whether this alleged physical
 7    location was a foreign embassy, a private residence, a commercial Internet café, or even a
 8    server hub that simply re-routes Internet activity from outside the country, much less
 9    contend that it was a location with any connection to the government of Qatar. The
10    allegation that Plaintiffs’ emails were accessed by a computer located somewhere in
11    Qatar, even if true, does not come close to showing that the government of Qatar was
12    involved in any way. Plaintiffs’ claim is no more plausible than an assertion that all
13    Internet activity originating in the United States should be attributed to the United States
14    government.
15          Mr. Tenery also claims that he analyzed the metadata of PDF files that various
16    news organizations had obtained following the alleged hack. Id. ¶ 13. According to Mr.
17    Tenery, a single PDF file had metadata with the word “David,” which Plaintiffs contend
18    is Defendant Nicolas Muzin’s middle name. Id. Plaintiffs have not alleged, much less
19    shown, that Defendant Nicolas Muzin goes by the name “David,” or that he would
20    attempt to mask his identity by signing documents with his middle name (rather than an
21    alias). To the contrary, the far more likely scenario is that the PDF file was created by
22    someone who is actually named “David,” which obviously is a common first name.
23

24

25
      3
       Mr. Tenery also states that he identified IP addresses originating in the United Kingdom
26    and in the Netherlands. Tenery Decl., ¶ 10. Mr. Tenery opines that these IP addresses
      are false addresses that were used to hide the hacker’s true location, and that the Qatari
27    address was only revealed by “mistake.” Id. ¶¶ 10-11. However, he fails to explain how
      he arrived at that conclusion. Based on the facts he presented, it is just as likely that the
28    Qatari address was also a red herring.
                                                           9
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 1          Plaintiffs also rely on uncorroborated second-hand statements that were
 2    purportedly made to a single declarant: Joel Mowbray, a self-admitted long-time friend,
 3    mentee, and business client of Plaintiff Broidy. Mowbray Decl., ¶ 2; Plaintiffs’ MPA,
 4    9:18-10:5. These hearsay statements lack credibility and should not be given any weight
 5    by the Court.
 6          Given Mr. Mowbray’s relationship to the Plaintiffs and their causes, the Court
 7    should view his double hearsay statements with skepticism. But even if accepted as true,
 8    Mr. Mowbray’s claims about statements made by Defendant Muzin do not establish that
 9    the government of Qatar hacked Mr. Broidy’s e-mails. Rather, Mr. Mowbray’s
10    statements merely suggest that Mr. Muzin knew reporters were investigating and
11    planning to publish stories regarding Mr. Broidy’s unlawful activities (Mowbry Decl., ¶¶
12    13, 17); that Mr. Broidy has repeatedly lobbied against Qatar (¶ 22); and that Mr. Muzin
13    believed the State of Qatar would be “going after” Mr. Broidy (¶¶ 22-24, 28). Plaintiffs’
14    MPA, 10:1-5 (citing these portions of Mr. Mowbry’s declaration). Notably missing from
15    his declaration is any statement that the Qatar government was hacking Plaintiffs’ e-
16    mails, as opposed to investigating lawful means of responding to Mr. Broidy’s political
17    statements.
18          Finally, Plaintiffs contend that Qatar has a “pattern” of hacking critics. But the
19    sole article that Plaintiffs cite for this contention does not allege that the government was
20    involved. To the contrary, the article states that “the government of Qatar denied any
21    involvement and expressed interest in stopping the attacks,” and that “[e]xperts pointed
22    out that the operation could be the work of an actor that seeks to damage Qatar’s
23    reputation.” Plaintiff’s MPA, 9:23-27; Kovacs, “Amnesty Warns of Phishing Attacks on
24    Qatar Activists,” Security Week, February 15, 2017.4
25

26

27
      4
       Available at <https://www.securityweek.com/amnesty-warns-phishing-attacks-qatar-
28    activists>.
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 1           In short, Plaintiffs have failed to identify any credible evidence that the State of
 2    Qatar hacked, forged, or disseminated Plaintiffs’ e-mails. Their claims fall far short of
 3    demonstrating any chance of success and the application for a TRO should be denied for
 4    this additional reason.
 5
      III.   Plaintiffs’ Allegations of Imminent and Irreparable Injury Are Speculative
 6           and Do Not Warrant an Injunction Pending Full Briefing and Hearing.
 7           A.      Plaintiffs Fail to Allege any Imminent, Irreparable Harm.
 8           Plaintiffs must demonstrate that irreparable harm is likely, not merely possible.
 9    Alliance for the Wild Rockies, 632 F.3d at 1131. But they have failed to point to any
10    likely, non-speculative future harm they might suffer in the absence of a temporary
11    restraining order. Instead, they focus their motion almost entirely on allegations of past
12    harm—that is, claims that they were injured by past data breaches in which their
13    information and emails were taken and distributed. Plaintiff’s MPA, 9:5-17, 10:6-11.
14    But “[p]ast exposure to illegal conduct does not in itself show a present case or
15    controversy regarding injunctive relief . . . if unaccompanied by any continuing, present
16    adverse effects.” City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983) (quoting O’Shea
17    v. Littleton, 414 U.S. 488, 495-96 (1974)).
18           Plaintiff’s entire claim of future harm is based on two second-hand statements
19    purportedly made to a single declarant—one whose credibility is suspect and whom
20    Defendants have had no opportunity to cross-examine. Plaintiff’s MPA, 16:4-17:16.
21    Specifically, according to Mowbray, Defendant Muzin told him on March 5, 2018 that
22    there was “more stuff coming” from The New York Times, and on March 8, 2018 that
23    “there’s a lot more coming.” Mowbray Decl. ¶¶ 20, 29-30.
24           But such ambiguous and unsupported statements cannot satisfy Plaintiffs’ burden
25    to clearly show a need for extraordinary injunctive relief. As an initial matter, it is not at
26    all clear from the Mowbray Declaration what these alleged statements even mean.
27    Furthermore, within the context of the allegations in the Complaint, it seems
28    affirmatively unlikely that these statements should be used to infer danger of future harm.
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 1    According to the Complaint, the last “hacking” activity allegedly occurred on March 2.
 2    Comp. ¶ 72. These statements by Defendant Muzin allegedly occurred on March 5 and 8.
 3    Comp. ¶¶ 20, 30. According to the Complaint, news articles resulting from the original
 4    “hack,” including coverage by The New York Times, continued through at least March 26.
 5    Comp. ¶ 74. Even if Defendant Muzin did make these statements, then, the much more
 6    natural interpretation would be that he was suggesting—as he is alleged to have said on
 7    March 5—that there may be future coverage by The New York Times based on the
 8    original alleged hacks. Plaintiffs’ contrary interpretation—that Defendant Muzin was
 9    admitting culpability for the hacks and that the hacks themselves would continue to
10    occur—is strained and entirely speculative. And even if Plaintiffs’ allegations could
11    demonstrate that future harm is conceivably possible, they fall far short of
12    demonstrating—as Plaintiffs must—that future irreparable harm is likely.
13

14          B.      Any Cognizable Harm to Plaintiffs Can be Compensated by Monetary
                    Damages.
15

16          The noncommercial tort exception of the FSIA applies only to claims for monetary
17    damages. 28 U.S.C. § 1605(a)(5); NML Capital, Ltd. v. Spaceport Systems Intern., L.P.,
18    788 F. Supp. 2d 1111, 1123; see supra I.A. Thus, for Plaintiffs to succeed on the merits
19    of their claim, they must establish that injury is compensable by monetary damages.
20    Such a showing necessarily defeats Plaintiffs’ ability to show irreparable injury, as
21    required for injunctive relief. Los Angeles Memorial Coliseum Commission v. Nat’l
22    Football League, 634 F.2d 1197, 1202 (9th Cir. 1980) (“[M]onetary injury is not
23    normally considered irreparable.”).
24    IV.   The Balance of Equities and Public Interest Militates Against Issuing a
25          Temporary Restraining Order.

26          Where an injunction carries a potential for public consequences, courts must weigh
27    the Plaintiff’s harm against both the public interest as well as the harm to the Defendants.
28    See Winter v. Natural Res. Defense Council, Inc., 555 U.S. 7, 23 (2008) (“[E]ven if

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 1    plaintiffs have shown irreparable injury . . . , any such injury is outweighed by the public
 2    interest.”). The United States’ diplomatic relations with foreign sovereigns are
 3    indisputably a public interest. See, e.g., Kemet Elec. Corp. v. Barshefsky, 21 C.I.T. 701,
 4    710 (1997) (denying preliminary injunction where harm to United States’ foreign
 5    relations outweighed potential harm to Plaintiff); Ibrahim v. Gonzales, 633 F. Supp. 2d
 6    737, 746 (W.D. Mi. 2007) (same); Milena Ship Mgmt. Co. Ltd. v. Newcomb, 804 F. Supp.
 7    846, 854 (E.D. La. 1985). Indeed, the FSIA was enacted to address “‘the potential
 8    sensitivity of actions against foreign states.’ .... [I]t aimed ‘to facilitate and depoliticize
 9    litigation against foreign states and to minimize irritations in foreign relations arising out
10    of such litigation.’” Cargill Int'l S.A. v. M/T Pavel Dybenko, 991 F.2d 1012, 1016 (2d
11    Cir.1993) (quoting H.R.Rep. No. 1487, at 45 (1976), reprinted in 1976 U.S.C.C.A.N.
12    6604, 6631, 6634).
13           Here, Plaintiffs’ ask this Court to issue an injunction against a foreign sovereign
14    that would effectively serve as a judicial declaration that Defendant State of Qatar likely
15    hacked, doctored, and leaked Plaintiffs’ e-mails. Such an injunction, based solely on
16    speculation and threadbare allegations, would significantly interfere with the United
17    States’ relations with a key Middle Eastern ally, thereby harming both the United States
18    and the State of Qatar. See generally U.S. Dept. of State, U.S. Relations with Qatar (Feb.
19    2, 2017) (noting that “the United States and Qatar coordinat[e] closely on a wide range of
20    regional and global issues,” and that “Qatar is a major staging ground for air operations
21    against ISIL in Syria and Iraq”).5
22           In contrast, Plaintiffs’ future harm is unsupported by any evidence and, at best,
23    highly speculative.6 Injunctive relief is therefore unnecessary.
24

25    5
        Available at <https://www.state.gov/r/pa/ei/bgn/5437.htm>.
      6
26      Plaintiffs’ arguments concerning the public interest are likewise meritless. Plaintiffs
      contend that an injunction serves to further the First Amendment and protect the public’s
27    privacy (Plaintiffs’ MPA, 19-21). The First Amendment, of course, deals with the United
      States’ ability to restrict free speech, and has nothing to do with conduct by foreign
28    sovereigns. And none of the alleged conduct implicates the public’s privacy rights.
                                                          13
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 1    V.    A Bond Should Be Required.
 2          Although Plaintiffs have not demonstrated a sufficient basis for a temporary
 3    restraining order at all, if one is issued, the Court should exercise its “wide discretion” to
 4    require a bond. Walczak v. EPL Prolong, Inc., 198 F.3d 725, 733 (9th Cir. 1999).
 5          Where a defendant has been wrongfully restrained by a TRO that is subsequently
 6    dissolved following a preliminary injunction hearing, the defendant is entitled to recover
 7    from the bond amount any monetary damages arising from the wrongful TRO.
 8    Qualcomm, Inc. v. Motorola, Inc., 185 F.R.D. 285, 287 (S.D. Cal. 1999). See also
 9    Nintendo of Am., Inc. v. Lewis Galoob Toys, Inc., 16 F.3d 1032, 1036 (9th Cir. 1994)
10    (holding that in the preliminary injunction context, “a wrongfully enjoined party is
11    entitled to have the bond executed and recover provable damages up to the amount of the
12    bond”).
13          This protection is particularly appropriate in this case, where Plaintiffs have failed
14    to articulate any harm they would suffer from posting a bond. If, as Plaintiffs speculate,
15    Defendant State of Qatar suffers no monetary harm from an unwarranted TRO, then
16    Plaintiffs would not be liable on the bond. But, if Defendant State of Qatar is correct that
17    an improper TRO—erroneously validating Plaintiffs’ frivolous claims—would harm its
18    reputation and complicate its foreign relations, then the bond would offer some remedy
19    for those injuries.
20    VI.   Plaintiffs Are Not Entitled to Expedited Discovery.
21          Plaintiffs have not established the good cause required to deviate from the normal
22    process whereby discovery may not commence until after the parties have conferred as
23    required by Rule 26(f). Am. LegalNet, Inc. v. Davis, 673 F. Supp. 2d 1063, 1066 (C.D.
24    Cal. 2009). Although a preliminary injunction hearing may be a basis for expedited
25    discovery in some instances, it “is not automatically granted merely because a party seeks
26    a preliminary injunction.” Id. “Rather, where a plaintiff seeks expedited discovery to
27    prepare for a preliminary injunction hearing, it makes sense to examine the discovery
28

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 1    request on the entirety of the record to date and the reasonableness of the requests in light
 2    of all the surrounding circumstances.” Id. (citations and alterations omitted).
 3          To support their plea for expedited discovery, Plaintiffs casually state that their
 4    discovery requests are “limited” and “narrowly tailored.” Plaintiff’s MPA, 22:6, 23.
 5    When actually reviewed, however, Plaintiffs’ proposed discovery requests are anything
 6    but. For example, the proposed deposition notice for Defendant Stonington enumerates
 7    fourteen potential topics of questioning, the first of which is “[a]ny and all
 8    communications with or concerning, or documents concerning, Plaintiffs.” Wolosky
 9    Decl., Ex. 22 at 3. The second is “[a]ny and all communications with or concerning, or
10    documents concerning, the State of Qatar.” Those two topics, taken together, encompass
11    the entirety of Plaintiff’s case. Moreover, contrary to Plaintiffs’ representation in their
12    motion (Plaintiffs’ MPA, 22:23-34), there is no time limitation for their requests. See
13    Wolosky Decl., Ex. 22.
14          Indeed, even a cursory glance at the purported discovery requests makes clear that
15    in truth, Plaintiffs have made no attempt to tailor their discovery requests to the limited
16    set of facts and circumstances that are relevant to preparing for the preliminary injunction
17    hearing—that is, facts and circumstances relating to the purported danger of future
18    irreparable harm. Instead, they are attempting an end run around the requirements of the
19    Federal Rules of Civil Procedure, to immediately launch into comprehensive discovery
20    before the Defendant State of Qatar has even been served with the Complaint.
21          Plaintiffs state that their discovery requests are reasonable in part because “no
22    discovery is being sought of Defendant State of Qatar at this time.” Plaintiff’s MPA,
23    22:26-27. However, a review of the discovery requests makes clear that the requested
24    information, even if sought from other Defendants, would be a significant intrusion into
25    Defendant State of Qatar’s affairs with Defendant Muzin and others. This is particularly
26    alarming in this context, where the State of Qatar is entirely immune from suit (and
27    attendant discovery) as a matter of law under the FSIA. And if the court were to
28    subsequently rule that Defendant State of Qatar is immune from suit, its privacy and
                                                          15
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 1    sovereignty will have been unnecessarily—and irreparably—invaded for no legal
 2    purpose.
 3                                               CONCLUSION
 4          For the foregoing reasons, Defendant State of Qatar respectfully requests that this

 5    Court DENY Plaintiffs’ Ex Parte Application for a Temporary Restraining Order; Order

 6    to Show Cause for Preliminary Injunction; and Order Granting Expedited Discovery.

 7
       Dated: April 3, 2018                               Respectfully submitted,
 8

 9                                                        COVINGTON & BURLING LLP
10
                                                          By:    /s/ Mitchell A. Kamin
11
                                                                  MITCHELL A. KAMIN
12                                                                Attorneys for Defendant State of Qatar

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